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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                         CASE NO.:

  SERGIO MENDEZ-GONZALEZ and all        )
                                        )
  others similarly situated under 29 U.S.C.
  216(B),                               )
                                        )
                Plaintiff,              )
                                        )
        vs.
                                        )
                                        )
  RODRIGUEZ GROUP HOME, INC.            )
  RODRIGUEZ ALF #2, INC.                )
  LYDIA RODRIGUEZ,                      )
                                        )
               Defendants.              )
  _____________________________________ )


       COMPLAINT UNDER 29 U.S.C. 201- 216 OVERTIME AND MINIMUM WAGE
                                VIOLATIONS

     Plaintiff, SERGIO MENDEZ-GONZALEZ on behalf of himself and all others similarly

  situated under 29 U.S.C. 216(B), through undersigned counsel, files this Complaint against

  Defendants, RODRIGUEZ GROUP HOME, INC., RODRIGUEZ ALF #2, INC., and LYDIA

  RODRIGUEZ, and alleges:


  1. This is an action arising under the Fair Labor Standards Act 29 U.S.C. §§ 201-216.

  2. The Plaintiff was a resident of Dade County, Florida at the time that this dispute arose.

  3. The Defendant, RODRIGUEZ GROUP HOME, INC., is a corporation that regularly

     transacts business within Dade County. Upon information and belief, the Defendant

     Corporation was the FLSA employer for Plaintiff’s respective period of employment (“the

     relevant time period”).

  4. The Defendant, RODRIGUEZ ALF #2, INC., is a corporation that regularly transacts

     business within Dade County. Upon information and belief, the Defendant Corporation was
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     the FLSA employer for Plaintiff’s respective period of employment (“the relevant time

     period”).

  5. The individual Defendant, LYDIA RODRIGUEZ, is a corporate officer and/or owner of the

     Defendant Corporations who ran the day-to-day operations of the Corporate Defendants for

     the relevant time period and was responsible for paying Plaintiffs’ wages for the relevant

     time period and controlled Plaintiffs’ work and schedule and was therefore Plaintiffs’

     employer as defined by 29 U.S.C. 203 (d).

  6. All acts or omissions giving rise to this dispute took place in Dade County.



                   COUNT I. FEDERAL OVERTIME WAGE VIOLATION

  7. This action arises under the laws of the United States. This case is brought as a collective

     action under 29 USC 216(B). It is believed that the Defendants have employed several other

     similarly situated employees like the Plaintiff who have not been paid overtime and

     minimum wages for work performed in excess of 40 hours weekly from the filing of this

     complaint back three years.

  8. This Court has jurisdiction pursuant to 28 U.S.C. § 1331 as this case is brought pursuant to

     The Fair Labor Standards Act, 29 U.S.C. §§ 201-219 (section #216 for jurisdictional

     placement).

  9. 29 U.S.C. § 207 (a) (1) states, " if an employer employs an employee for more than forty

     hours in any work week, the employer must compensate the employee for hours in excess of

     forty at the rate of at least one and one half times the employee's regular rate…."

  10. Plaintiff, SERGIO MENDEZ-GONZALEZ, worked as an attendant at Defendant’s Assisted

     Living Facility from on or about June 1, 2011 through on or about March 20, 2012.

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  11. Defendants’ business activities involve those to which the Fair Labor Standards Act applies.

     Plaintiff was an attendant who worked at Defendants’ assisted living facilities which are

     facilities primarily engaged in the care of the sick, the aged, or the mentally ill or defective

     who reside on the premises of said institutions, during the time period Plaintiff worked for

     the Defendants and therefore Defendants’ assisted living facilities are an enterprise covered

     under the fair labor standards act pursuant to 29 U.S.C. 203 (s) (B).

  12. Additionally, Defendants’ business activities involve those to which the Fair Labor Standards

     Act applies. Both the Defendants’ business and the Plaintiff’s work for the Defendants

     affected interstate commerce for the relevant time period. Plaintiff’s work for the Defendants

     affected interstate commerce for the relevant time period because the materials and goods

     that the Plaintiff used on a constant and/or continual basis and/or that were supplied to him

     by the Defendants to use on the job moved through interstate commerce prior to and/or

     subsequent to Plaintiff’s use of the same. The Plaintiff’s work for the Defendants was

     actually in and/or so closely related to the movement of commerce while he worked for the

     Defendants that the Fair Labor Standards Act applies to Plaintiffs’ work for the Defendants.

  13. Upon information and belief, the Defendant Corporations had gross sales or business done in

     excess of $500,000 annually for the years 2009, 2010, and 2011.

  14. Upon information and belief, the Defendant Corporations’ gross sales or business done

     exceeded $125,000 for the first quarter of the year 2012 and is expected to exceed $500,000

     for the year 2012.

  15. Furthermore, Defendants regularly employed two or more employees for the relevant time

     period who handled goods or materials that travelled through interstate commerce, or used

     instrumentalities of interstate commerce, thus making Defendants’ business an enterprise

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     covered under the Fair Labor Standards Act.

  16. Upon information and belief Defendant, RODRIGUEZ GROUP HOME, INC., is an assisted

     living facility that receives federal funding for the years 2009 through 2012.

  17. Upon information and belief Defendant, RODRIGUEZ ALF #2, INC., is an assisted living

     facility that receives federal funding for the years 2009 through 2012.

  18. Defendants, RODRIGUEZ GROUP HOME, INC. and RODRIGUEZ ALF #2, INC., are

     joint enterprises as defined by 29 U.S.C. 203(r) as the related activities between the

     corporations, performed through unified operation and/or common control are being done for

     a common business purpose.

  19. Defendants, RODRIGUEZ GROUP HOME, INC. and RODRIGUEZ ALF #2, INC,. were

     each Plaintiff’s joint employer during Plaintiff’s employment with the Defendant Companies

     as the work performed by Plaintiff simultaneously benefited all Defendant corporations who

     were responsible for controlling Plaintiff’s hours, determining Plaintiff’s pay and which were

     operated by the same corporate officers for a common business purpose.

  20. Between the period of on or about June 1, 2011 through on or about March 20, 2012

     Plaintiff, SERGIO MENDEZ-GONZALEZ, worked an average of 150 hours per week and

     was paid an average of $1.73 per hour, but was never paid overtime wages for any hours

     worked as required by the Fair Labor Standards Act and Plaintiff therefore claims the time

     and half rate of the applicable minimum wage rate of $7.25/hr. for each hour worked above

     40 in a workweek. During said time period, Plaintiff, SERGIO MENDEZ-GONZALEZ,

     lived and worked on the premises of RODRIGUEZ ALF #2, INC. During said time period,

     Plaintiff, SERGIO MENDEZ-GONZALEZ, was required to regularly attend to the mentally

     ill and aged patients during the night time hours and did not regularly get 3 hours of

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      uninterrupted sleep. There was, during said time period, no agreement in place regarding

      time spent sleeping. Plaintiff, SERGIO MENDEZ-GONZALEZ, therefore claims an average

      of 150 hours worked per week during said time period in accordance with the provisions of

      29 CFR 785.22(a) and 29 CFR 785.22(b).

  21. Defendants willfully and intentionally refused to pay Plaintiff’s overtime wages as required

      by the Fair Labor Standards Act as Defendants knew of the overtime requirements of the Fair

      Labor Standards Act and recklessly failed to investigate whether Defendants payroll

      practices were in accordance with the Fair Labor Standards Act. Defendants remain owing

      Plaintiff these wages since the commencement of Plaintiff’s employment with Defendants

      for the time period specified above.


  Wherefore, Plaintiff requests double damages and reasonable attorney fees from Defendants,

  jointly and severally, pursuant to the Fair Labor Standards Act as cited above, to be proven at the

  time of trial for all overtime wages still owing from Plaintiff’s entire employment period with

  Defendants or as much as allowed by the Fair Labor Standards Act along with court costs,

  interest, and any other relief that this Court finds reasonable under the circumstances. The

  Plaintiff requests a trial by jury.

                       COUNT II. FEDERAL MINIMUM WAGE VIOLATION

      COMES NOW PLAINTIFF, through Counsel, and re-adopts the factual and jurisdictional

  statements in paragraphs 1-21 above and further states:


  22. 29 U.S.C. § 206 (a) (1) states "..an employer must pay a minimum wage of $5.15/hr to an

      employee who is engaged in commerce...” [29 U.S.C. § 206 (a) (1)]". On July 24, 2007

      Federal minimum wage was raised to $5.85/hr. On July 24, 2008, Federal minimum wage

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     was raised to $6.55/hr. On July 24, 2009, Federal minimum wage was raised to $7.25/hr.

  23. Between on or about June 1, 2011 through on or about March 20, 2012, Plaintiff, SERGIO

     MENDEZ-GONZALEZ, worked an average of 150 hours per week for Defendants, but was

     only paid $1.73/hr. Said payment of $1.73/hr is in violation of the Fair Labor Standards Act

     as said payment did not meet the applicable Federal Minimum Wage required for said period

     of time. Therefore, Plaintiff claims the difference between the amount paid to Plaintiff and

     the applicable minimum wage of $7.25/hr.

  24. The Defendants wage payment practices to Plaintiff for this time period did not meet the

     federal minimum wage law requirements as Plaintiff was not paid the required federal

     minimum wage for all hours worked and is therefore claiming minimum wage violations

     under the Fair Labor Standards Act.

  25. Defendants willfully and intentionally refused to pay Plaintiff’s minimum wages as required

     by the Fair Labor Standards Act as Defendants knew of the Federal Minimum Wage

     requirements of the Fair Labor Standards Act and recklessly failed to investigate whether

     Defendants’ payroll practices were in accordance with the Fair Labor Standards Act.

     Defendants remain owing Plaintiff these wages since the commencement of Plaintiff’s

     employment with Defendants for the time period specified above.



     Wherefore, Plaintiff requests double damages and reasonable attorney fees from the

  Defendants, jointly and severally, pursuant to the Fair Labor Standards Act and as cited above, to

  be proven at the time of trial for all minimum wages still owing from Plaintiff’s entire

  employment period with Defendants or, as much as allowed by the Fair Labor Standards Act --

  whichever is greater along with court costs, interest, and any other relief that this Court finds

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  reasonable under the circumstances. The Plaintiffs request a trial by jury.



                                                         Respectfully Submitted,

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                                                         By:__/s/ J.H. Zidell__________
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